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Plaintz:)j‘, §
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v. §
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§ civIL ACTIoN No. ___________
DAVID L. NEVITT, § ._ .
LAWRENCE T. coDDINGToN, ]R. § ..
DAvID DURICA, ]ERRY DODD, § 3 09 0 vo 0 6 6 " N
RANDY sUNDQUIsT, § ,
FRANI< W. PoBLENZ § 62 8‘ U 0 O
§
Defendants. §

PLAINTIFF’S ORIGINAL COMPLAINT
TO THE HONORABLE UNITED STATE DISTRICT ]UDGE:
COMES NOW THOMAS HANNON, Plaintiff, complaining of David L. Nevitt, d
Lawrence T. Coddington, ]r., David Durica, ]erry Dodd, Randy Sundquist, and Franl< W.

Poblenz, and for cause of action Will respectfully show unto the Court as follows:

I. Parties
l. Plaintiff is a resident'of Van Zandt County, Texas.
2. Defendant David Nevitt is an individual residing in Dallas County, Te)<as,

and service can be effected at his place of employment, Dallas Police Department, 1400
S. Lamar Street, Dallas, Texas 75215.

3. Defendant LaWrence T. Coddington, ]r. is an individual residing in Dallas
County, Texas, and service can be effected at his place of employment, Dallas Police

Departrnent, 1400 S. Larnar Street, Dallas, Texas 75215.

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4. Defendant David Durica is an individual residing in Dallas County, Texas,
and service can be effected at his place of employment, Dallas Police Department, 1400
S. Lamar Street, Dallas, Texas 75215.

5. Defendant Randy Sundquist is an individual residing in Dallas County,
Te)<as, and service can be effected at his place of employment, Dallas Police Department,
1400 S. Lamar Street, Dallas, Texas 75215

6. Defendant jerry Dodd is an individual residing in Dallas County, Texas,
and service can be effected at his place of employment, Dallas Police Department, 1400
S. Lamar Street, Dallas, Texas 75215.

7. Defendant Franl< Poblenz is an individual residing in Dallas County,
Te)<as, and service can be effected at his place of employment, Dallas Police Department,
1400 S. Lamar Street, Dallas, Texas 75215

II. ]urisdiction and Venue

8. The Court has original jurisdiction over this action pursuant to 28 U.S.C.
§1331 and §1343 since Plaintiff is suing for relief under 42 U.S.C. § 1983. Any state law
claims are brought pursuant to 28 U.S.C. §1367 and are subject to this court's
supplemental jurisdiction Venue is proper in the Northern District of Texas pursuant to
28 U.S.C. §1391 because Defendants are domiciled and / or reside in the Northern
District of Texas, and all or a substantial part of the cause of action accrued in the

Northern District.

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III. Facts and Allegations

9. This case arises out of the unlawful arrest and subsequent indictment of
Thornas Hannon. Plaintiff Hannon Would show that on or about August l, 2007 he was
staying at a hotel located at 8051 LB] Freeway, Dallas, Dallas County, Texas. At
approximately 2:30 p.m., an acquaintance name Carl arrived as Hannon was leaving the
premises Carl and Hannon exited the second floor of the hotel. Carl was at all times
relevant to these facts carrying a black leather bag over his right shoulder. The contents
of the bag were unknown to Hannon.

10. Since Carl was heading in the opposite direction, Hannon waited for
another friend to drive him to visit a friend at Presbyterian Hospital in Dallas. After
realizing the friend was late, Hannon decided to walk to a ]ack-in-the-Box. As he
crossed Coit Road he heard a commotion behind him. l~le turned to see a Chevy
Suburban coming at him with two police officers literally hanging out of the doors. The
officers ordered Hannon to the ground and arrested him.

11. The motel Video surveillance tapes showed Hannon and Carl as they
walked down the hallway and exited the hotel’s eastern exit. At all times relevant to
these facts, Carl was carrying the black leather bag. The video shows Carl leaving the
hotel and walking across the parking lot with the black leather bag as Hannon walked
in the opposite direction carrying white trash bags.

12. At approximately 2150 p.m. Defendant Sundquist was seen on the hotel
video surveillance milling around the lobby of the hotel in plain clothes. rl`he video

surveillance captured several of the defendants as they went into the lobby of the hotel.

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13. According to a police report generated by Defendant Dodd, at about 2:50
p.m. on August 1, 2007, Dodd and Durica were at the hotel to execute an arrest warrant
for Hannon. The police go on to describe the following events: ”On 8 / 01 / 07 at about
2250 p.m. Northeast Deployment Officers ]. Dodd #7577, D. Durica #5085, F. Poblenz
#2953, L. Coddington #6830, D. Nevitt #4517 and Sgt. R. Sudquist #6517 were executing
a felony warrant for AP Hannon at 8051 LB] Frwy. AO Nevitt observed AP Hannon
exit the rear entrance to the hotel, at which time AP was carrying a black leather bag.
AP Hannon observed AOs in the parking lot at which time he immediately dropped the
bag and took evasive measures by rapidly walking southbound through the parking lot.
AOS Dodd and Durica took AP Hannon into custody, as he began to walk westbound
on the service road to LB] Frwy. Incident to arrest AO Dodd searched the bag in which
AP Hannon was carrying and recovered a clear plastic baggie containing a white crystal
like substance believed to be methamphetamine." Later in the report the following
information Was revealed. ”AQ Dodd also recovered a Colt 357 caliber revolver
#6047CK from the bag in which AP Hannon was carrying."

14. Plaintiff Hannon was arrested as he was walking down LB] Freeway.
However, he repeatedly denied ever possessing a black leather bag or having any
knowledge of the suspected methamphetamine or .357 Colt revolver. Hannon was
taken in for questioning and he repeatedly asked what he was being charged with and
continued to protest his innocence. Fed up with Hannon's refusal to cooperate, the
Defendants concocted the story that was written verbatim in the police report and

probable cause affidavit Hannon was subsequently charged, arraigned, and indicted

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for possession of methamphetamine and possession of a firearm by a felon in cause
number F-07-55470 and F-07-55471 respectively, and ordered to jail until trial.

15. Hannon’s cases were set for jury trial in February 2008. Prior to trial,
Hannon’s criminal defense attorney ]ames Whalen informed the Dallas County District
Attorney’s office that a copy of the videotape was recently obtained directly from the
hotel. Whalen showed the videotape to Assistant District Attorney Elizabeth ]ackson.
The tape completely contradicted the Defendants’ account of events contained in the
police report. Armed with this information, ]ackson re-questioned her police officer
witness in preparation for Hannon’s trial. Defendant Nevitt, in particular, stood by the
story that he did see Hannon walk out of the hotel with the black bag, and that same
afternoon that the Defendants had confirmed their account by watching the video
surveillance at the hotel. Defendants told ]ackson that the hotel was unable to make
copies of the videotape.

16. ]ackson, knowing that Defendants lied to her about the existence of copies
of the video, as well as the story about Hannon carrying the black bag containing the

contraband and the gun, dismissed the cases against Hannon.

IV. Causes of Action
THOMAS HANNON'S CLAIM FOR VIOLATION OF 42 U.S.C. § 1983 ET SEQ,
FOURTH, FIFTH, EIGHTH,AND FOURTEENTH AMENDMENTS TO THE US
CONSTITUTION
17 . Plaintiff re-alleges and restates all of paragraphs 10 through 17 of this

Complaint and incorporates each of said paragraphs herein by reference.

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18. The Defendants had actual notice of the injuries suffered by Plaintiff. Any
conditions precedent have occurred, been performed, or have been waived.

19. Acting under the color of law, the Defendants have deprived Plaintiff of
the rights and privileges secured to Plaintiff by the Fourth, Fifth and Fourteenth
Amendments to the United States Constitution and by other laws of the United States.
They have falsely and intentionally arrested Plaintiff for violations of law, falsely
incarcerated Plaintiff, harassed, abused, and otherwise violated basic civil rights
afforded all citizens in the United States.

20. By their actions and or inactions as described above, Defendants have
violated 42 U.S.C. § 1983 and the constitutional provisions cited therein. Specifically,
Defendants arrested the Plaintiff without probable cause and without even ”arguable"
probable cause. Defendants were aware that the black bag was not owned by or in the
possession of the Plaintiff. The Defendants intentionally trumped up charges against
the Plaintiff and Defendants knew, at the time, that they did not have even ”arguable"
probable cause to arrest the Plaintiff for the drugs and firearm found in the black bag.
As a proximate result of the arrest and incarceration of the Plaintiff and of the falsified
police report, Plaintiff was incarcerated for ten (10) months in county jail pending trial.

21. As a direct and proximate result of the above-described actions of the
individual Defendants, Plaintiff was deprived of his rights as guaranteed by the Fourth,
Fifth, and Fourteenth Amendments of the Constitution of the United States and 42
U.S.C. §1983. Specifically, Plaintiff, by Virtue of the wrongful arrest and wrongful

incarcerations, has suffered unreasonable seizure of his person in the form of a

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prolonged confinement in the Dallas County ]ail. Additionally, Plaintiff's Fourteenth
and Fifth Amendment rights have been violated by the Defendants, Specifically, by
trumping up false allegations and charges against Plaintiff and seeking indictments
against him based on fraud, Defendants violated Plaintiff’s rights to substantive and
procedural due process. The indictment against the Plaintiff was procured by fraud,
perjury or other corrupt means - specifically, the falsified police report.

22. As a direct and proximate result of the occurrences made the bases of this
lawsuit, Plaintiff Thomas Hannon was forced to suffer incarceration in the Dallas
County ]ail for ten (10) months. His wrongful arrest and subsequent and unnecessary
and prolonged deprivation of freedom caused him to suffer severe mental anguish in
the past, and loss of earnings in the past, Plaintiff has Suffered serious and substantial

injuries for which he requests the award of the following categories of damages:

a. Emotional distress, torment and mental anguish;
b. Damage to reputation,'
c. Loss of earnings

23. Pursuant to 42 U.S.C. § 1983 and 1988, Plaintiff seeks to recover, and
hereby requests the award of exemplary damages, reasonable attorney's fees and costs

of court.

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STATE LAW CLAIMS

MALICIOUS PROSECUTION

24. The individual Defendants maliciously prosecuted Plaintiff under State
Law and caused substantial harm to Plaintiff as described above: a criminal prosecution
was commenced against the Plaintiff,' the Defendants, by and through their falsified
police reports, initiated or procured the criminal prosecution,' the criminal prosecution
was terminated in Plaintiff’s favor - i.e., the case against the Plaintiff was dismissed; the
Plaintiff was innocent of the charges; there was an absence of probable cause for the
proceedings; the Defendants acted with malice; and, the Plaintiff was damaged by
incarceration of ten (10) months in the Dallas County ]ail.
FALSE ARREST AND FALSE IMPRISONMENT

25. By and through Defendants’ falsified police reports, Defendants willfully
detained Plaintiff; without his consent,' and, Without legal authority or justification
Specifically, Plaintiff’s ten (10) month confinement in the Dallas County ]ail was a false
imprisonment perpetrated by the Defendants’ false charges

26. In his action for false imprisonment, Plaintiff requests actual damages for
humiliation, shame, fright and mental anguish, and loss of earning capacity.
Additionally, Plaintiff seeks exemplary damages based on Defendant willful and
malicious actions

27 . Plaintiff requests prejudgment and postjudgment interest and court costs.

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v. ]URY REQUEST

28. Plaintiff respectfully requests a jury trial.

VI. PRAYER
29. WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that judgment
be rendered against Defendants, Plaintiff further prays for all other relief, both legal

and equitable, to which he may show himself justly entitled.

Respectfully submitted,
SCOTT H. PALMER, P.C.

15455 Dallas Parkway
Suite 540, LB 32

Addison, Texas 75001
(214) 987-4100 (telephone)
(214) -9900 (tel opier '

    
  

 

sEoTT H. PALMER
State Bar No. 00797196

Attorney for the Plaintiff

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